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                            UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION


  DAVID SAMBRANO, individually and on
  behalf of all others similarly situated, et al.,

                           Plaintiffs,
                  v.                                 Civil Action No.: 4:21-01074-P

  UNITED AIRLINES, INC.,

                           Defendant.

                    APPENDIX IN SUPPORT OF MEMORANDUM
               SUPPORTING PLAINTIFFS’ MOTION FOR TEMPORARY
               RESTRAINING ORDER AND PRELIMINARY INJUNCTION

       Plaintiffs file this Appendix in Support of Plaintiffs’ Motion for Temporary Restraining

Order and Preliminary Injunction and, in support thereof, show the Court as follows:

                                             APPENDIX

 EXHIBIT NO.           DESCRIPTION                                               APP. RANGE

 1                     Affidavit of David Eric Sambrano, Sept. 21, 2021          1–5
 2                     Affidavit of Kimberly Anne Hamilton, Sept. 21, 2021       6 – 11
 3                     Affidavit of Seth Adam Turnbough, Sept. 21, 2021          12 – 16
 4                     Affidavit of David Michael Castillo, Sept. 21, 2021       17 – 21
 5                     Affidavit of Debra Jennefer Thal Jonas, Sept. 21, 2021    22 – 26
 6                     Affidavit of Genise Gale Kincannon, Sept. 21, 2021        27 – 31
 7                     Affidavit of David Llen Lockwood, Sept. 21, 2021          32 – 35

September 21, 2021                                     Respectfully submitted,

                                                       /s/ John C. Sullivan
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ORDER AND PRELIMINARY INJUNCTION    PAGE 1
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                                                    /s/ Robert C. Wiegand
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                                                    * Pro hac vice motions forthcoming

                                                    Counsel for Plaintiffs and the
                                                    Proposed Class

                               CERTIFICATE OF SERVICE

       A true and correct copy of the foregoing has been served via the Court’s electronic filing

system upon all counsel of record.

                                                    /s/ Robert C. Wiegand
                                                    Robert C. Wiegand


APPENDIX IN SUPPORT OF MEMORANDUM SUPPORTING PLAINTIFFS’ MOTION FOR TEMPORARY RESTRAINING
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                    EXHIBIT 1




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              DAVID SAMBRANO, individually and on
              behalf of all others similarly situated, et al.,

                                       Plaintiffs,

                               V.                                Civil Action No.: 21-

              UNITED AIRLINES, INC.,

                                       Defendant.


                                             Affidavit of David Eric Sambrano

                    I, David Eric Sambrano, declare as follows:

                    1.      I am 58 years of age and I am a resident of Colleyville, Texas.

                    2.       I am a United Airlines Captain on the B787 aircraft. In that position, my
           responsibilities include piloting and commanding the aircraft. I have been in this position for
           approximately one year. In my 31 years with United Airlines, my previous positions include
           Captain of the B757/B767 aircraft and small aircraft, and management positions such as: Chief
           Technical Pilot for Communications, Air Frequency Committee Vice Chainnan-which pait of
           industry leadership for airlines- as a subject-matter expe1t, Flight Operations Duty Manager,
           Manager of Training and Evaluation Standai·ds, a Technical Pilot, and other various Flight
           Operations Management positions. Also, I am cmTently in ti-aining to be a Line Check Auman
           (i.e., an insti11ctor of pilots).

                  3.       I would like to complete my Line Check Auman ti·aining and continue working at
           United Aii·lines until my mandato1y retfrement in 7 yeai·s at age 65.

                   4.       I am pa1t of a flight crew based in Newark, New Jersey, because the international
           routes that I fly often originate from that United hub. I reside close to DFW aupo1t, however, so
           my normal "commute" is by plane into or out of DFW.

                    5.      I am personally opposed to receiving the COVID-1 9 vaccine based on my religious
           beliefs. Specifically, I believe the Bible is the infallible Word of God and I believe the Bible
           speaks to these issues, which I explained with biblical suppo1t in my submission to United Airlines.
           These vaccines were developed using abo1ted fetal tissue, and it is sinful to use anything derived
           from abortion for monetaiy gain. Indeed, I sti·ongly believe that life begins at conception.
           Additionally, I believe that the receiving the vaccine runs contrary to the Bible's teaching that we
           ai·e created in the iinage of God and that our bodies ai·e a temple of the Holy Spirit.

                  6.     As a child, I received vaccinations when I knew little about these things and was
           unable to make such decisions. As an adult, I regularly elect not to receive vaccinations due to my




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           religious beliefs, with the exception of the Yellow Fever vaccine required for certain international
           travel requirements, which I believe has a 30-plus year histo1y of success and for which I am not
           aware of any abo1tion-related involvement. Additionally, I regularly restricted vaccines for my
           children because of these religious beliefs.

                   7.    On August 6, 2021, I learned that United Airlines would require all employees to
           receive the COVID-19 vaccine.

                    8.    Before that date, I had been flying and working without incident. Beginning in
           April 2020, I began working from home due to the COVID-1 9 pandemic-in accordance with
           United rnles-since my position allowed it. Once I returned to flying full time in October 2020, I
           complied with United's workplace rules, which included wearing a mask at all times while on
           aiiport prope1iy and when on ai1planes with the cockpit door open, abiding by applicable
           restrictions when flying internationally, and complying with all other COVID requii·ements.

                  9.      On August 26, 2021 , I submitted a request for a reasonable accommodation from
           United's vaccine requirement based on my religious beliefs. I am attaching a copy of that
           submission to United Airlines. I submitted that request through the web-based po1tal United
           provided for such requests.

                   10.   I also wished to submit a request for a medical accommodation because I previously
           contracted COVID-19 on July 27, 2021, and believe that I am positive for antibodies, which render
           me immune from COVID at this point and which may present a risk to receiving the vaccine.
           However, United's reasonable accommodation po1tal did not pennit me to claim more than one
           accommodation. I am willing to provide any such documentation to allow United to confirm that
           I pose no concern for the health or safety to my coworkers or om customers.

                   11.     After I submitted by accommodation request, I expected and hoped to receive a
           phone call or meeting. I wanted to discuss the request with United and to explore possible
           accommodations. On August 29, I received an email asking for additional explanation of my
           religious beliefs, which I provided on September 1. Then on September 3, I received another email
           requesting thii·d-paiiy verification of my religious beliefs by way of a letter, which I responded to
           with letters from my pastor and my wife. On September 8, I received a letter outlining the process
           for those who are approved.

                 12.     On September 9, I was info1med my religious accommodation request was
           "GRANTED," but that I would be "accommodated" by being placed on indefinite unpaid leave. I
           was fmther info1med that this period of unpaid leave could last for a maximum of 72 months.

                   13.    While on indefinite unpaid leave, United stated that I would be unable to use any
           of my accrned sick leave or vacation time. Additionally, I would be unable to accrne any sick
           leave or vacation time while on indefinite unpaid leave, nor would I be gaining credit toward my
           retirement. Finally, I would be required to pay my medical insmance premiums while on unpaid
           leave (both my portion and United's potion).

                 14.   On September 9, I was also cleared by United's medical team as having recovered
           from COVID and able to return to work.



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                   15.     My cunent sala1y is $351,065, which would increase by approximately $45,000-
           $60,000 if I am pennitted to complete my Line Check Airman training. These amounts do not
           include my medical insurance premiums, of which United pays a significant pali. If placed on
           unpaid leave for the time remaining until mandato1y retirement, my lost earnings will likely exceed
           $2.5 million. I will need to find replacement income for that lost salaiy. Although I am cmTently
           eligible for eai·ly retirement, it is my understanding that after the September 27 vaccination
           deadline, those on unpaid leave will not be able to transition to retired status without first coming
           back to regulai· employment status, which requires COVID vaccination.

                   16.      Additionally, if I go 90 days without 3 takeoffs and landings, I ain no longer
           qualified and require additional training. If I went to another airline, I would lose all my seniority
           and stait at the bottom of the income scale like a new pilot.

                   17.     The cunent situation has put tenible stress on me and my family. If I cannot
           continue eai·ning a paycheck, we will have to make difficult choices regai·ding the college
           education of three children, one of whom is currently in college, and my 17-yeai·-old twins who
           will be going to college soon. For my child cmTently in college, the loss of an income source could
           put in jeopardy my ability to continue paying tuition. Additionally, there ai·e many opportunities
           we have been pursuing as a fainily that I cannot afford if I lose my United sala1y.

                   18.     As noted, I have worked for United for 31 years and wish to continue doing so.
           Since the beginning of the COVID-19 pandemic, I have followed the mitigation measures that
           United has put in place for my position-mask weai·ing, maintaining distance, etc. United has not
           offered to allow me to continue working with these measures in place. Instead, after infonning
           United of my religious beliefs, I have been threatened with tennination or indefinite unpaid leave
           without my regulai· benefits.

                   19.    I submitted a charge with the EEOC on September 19, 2021 , regarding United's
           discriminato1y actions. That charge remains pending.

                    I declare under penalty of pe1jmy that the foregoing is tme and conect.


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                  Signature Certificate
              Document Ref.: VD5Z6-FUFAC-WPGBR-SU3Y7

Document signed by:

                 David Sambrano



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                      Document completed by all parties on:
                          21 Sep 2021 19:51 :12 UTC
                                   Page 1 of 1




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                    EXHIBIT 2




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              DAVID SAMBRANO, individually and on
              behalf of all others similarly situated, et al.,

                                        Plaintiffs,

                                V.                               Civil Action No.: 21-

              UNITED AIRLINES, INC.,

                                        Defendant.




                                             Affidavit of Kimberly Anne Hamilton

                    I, Kimberly Anne Hamilton, declare as follows:

                    1.       I am 62 years old and a resident of Colleyville, Texas.

                    2.     I am a Station Operations Representative (SOR). In that pos1t10n, my
           responsibilities include working in operations, which is an office where we do gate planning, and
           coordinate fueling, mechanics, cleaners, caterers, and other matters for receiving and dispatching
           aircraft. I have been in this position for about 6 years, and with United Airlines for 18 years.

                    3.       My SOR duties are perfo1med on location at DFW aiiport.

                  4.     On August 6, I learned that United Airlines would requii·e all employees to receive
           the COVID-19 vaccine by either October 25, 2021, or five weeks after any of the currently
           available COVID-1 9 vaccines received approval beyond their initial Emergency Use
           Authorization. After the authorization of the Pfizer vaccine on August 25, 2021, the vaccination
           deadline became September 27, 2021. According to the mandate, all employees who are not
           vaccinated by September 27, 2021, will be te1minated from employment.

                   5.      Since the beginning of the COVID-1 9 pandemic, I had been working my regular
           shift without incident. In accordance with United mles, I have my temperature taken on occasion,
           and I follow all of United's rules regarding mask wearing and social distancing. We also have
           plexiglass shields in place and plenty of sanitizer and wipes. I typically work alone in an office
           and have worked without incident under these conditions.

                   6.      On August 26, I submitted a request for a reasonable accommodation based on my
           religious beliefs. I submitted that request through the web-based portal United provided for such
           requests.

                   7.    I requested a religious accommodation because I am personally opposed to
           receiving the COVID-19 vaccine based on my religious beliefs. Specifically, I am a devout



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           Catholic, and cannot abide by any process that has anything to do with using aborted cells or paits
           of a child. No matter how far removed they describe it as being in the vaccine development
           process, I believe it is wrong. I believe that the continued use of abo1ted tissues is creating a
           market for abo1ted babies which is an abomination. I also believe that my body is God's temple,
           and they are telling me to inject that substance into me that I do not believe is healthy. I do not
           smoke and ve1y rai·ely drink, and have never tried a single illegal drng substance. I exercise and
           am cautious about my health.

                    8.       Although I believe I had childhood vaccines, I had no say in the matter. As an
           adult, I rai·ely receive vaccines. I have never received a flu shot. I received a tetanus shot in 2004,
           because I know of nothing about it that I find morally objectionable. But I generally avoid such
           measures even if there is nothing specifically wrong with them. My immune system has been
           working for me, so I am in good health. Also, I have several allergies and am woITied that those
           allergies could cause a severe negative reaction to the COVID-1 9 vaccine.

                   9.       On Sunday, September 5th of Labor Day weekend, United requested a third-pa1ty
           letter suppo1t ing my religious beliefs. I was teITibly woITied and this put me under significant
           stress. I kept thinking - What if they don't write the letter the right way? What qualifications do
           the people receiving the letter have to judge my faith ? What if the letter isn't written the right
           way for them? So I had my husband-my soulmate- write it. After it was notaiized, I submitted
           his statement in response to United's demand for further support of my religious beliefs.

                  10.    I heai·d nothing fmther from United. I wanted to discuss possible accommodations
           with United, but they never conta.cted me to discuss them.

                   11.     On September 9, I was info1med that my request for a religious accommodation
           was "APPROVED," but that the "accommodation" United would provide is an indefinite period
           of unpaid leave. I was fmther infonned that while on indefinite unpaid leave, I would be unable
           to use any of my accrned sick leave or vacation time or accrne additional sick leave or vacation
           time. Additionally, I would lose all contributions to my 401(k) retirement account, I would be
           unable to retire during this time and I would begin losing seniority which dete1mines our positions,
           scheduling, vacation and other benefits while on indefinite lmpaid leave. Finally, I would be
           required to pay my medical insurance premiums while on unpaid leave (both my poition and
           United's potion). I know that United makes a big contribution toward our insurance cost.

                  12.    That outcome is devastating for me and my husband. My husband is in cancer
           treatment and we need health coverage and for me to pay the significant medical bills. Without
           my regular income, I have no way of paying the full cost of our medical insurance.

                   13.    My United income is close to $50,000, and my husband's two parttime adjunct
           instructor jobs generate less that $20,000. We have no other farnily sources of income. My
           husband retired in May due to health related issues. We depend on my regular income for all of
           our daily financial needs.

                 14.     Additionally, with the knowledge that my health benefits will be going away, my
           husband and I weren't able to consider all alternative treatment options for his Prostate Cancer.
           We moved quickly on a ti·eatment that could be done while we had insurance coverage. Having



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           just had his prostate removed on September 15, we are unsure of what health procedures may be
           needed in the foture. After learning of United's "accommodation," which cancels our family
           medical benefits, my husband sat me down and said that he would stop his h·eatments because he
           did not want saddle me with a crippling financial debt. I am so sh·essed, because his medical
           coverage comes through my job. As I akeady said, my husband is my soulmate and I cannot bear
           the thought of him not being able to get this lifesaving h·eatment, h·eatment that he will be able to
           get if I can keep working my job with my medical benefits.

                   15.    On September 20, 2021 , I saw a video of Scott Kirby, the Chief Executive Officer
           of United Airlines, warning employees "to be very careful" about requesting accommodations to
           the vaccine mandate. Kirby said there would be "few people that get through the medical and
           religious exemption process." He said employees like me are "all the sudden decid[ing] , 'I'm really
           religious." He also said that an employee like me is "putting [my] job on the line" by requesting
           my accommodation.

                    16.     Kirby both threatened and insulted me with that statement. He made it clear that
           he expected a system that few people could be exempted through. He insulted and disparaged my
           faith by suggesting that I do not h1Ily believe these things-a belief that I am willing to lose my
           life to be faithful to, because I would rather pay that price than receive a vaccine where abo1iion
           was paii of making it-and then he threatened that he will have me fired (which is what long-te1m
           unpaid leave is) ifl do not act against my conscience. I feel beh·ayed and abandoned by the person
           in charge of the company that I love to work for, and so hmi that he has such nasty thoughts toward
           me and other people hy ing to be faithful to what we believe.

                    17.     In eai·ly September, 2021, I saw video of Sasha Johnson, United's Vice President
           of C01porate Safety, interviewing Dr. Derek J. Robinson, Vice President and Chief Medical
           Officer of Blue Cross Blue Shield. In that video, he was asked if it was hue that all the available
           vaccines were made with abo1ied fetal tissue during the process. Robinson answered by say "I
           can say with confidence that the Covid-19 vaccines that are administered do not have fetal tissue
           in them." I believe Robinson's answer was misleading and didn't answer the question.         I took
           this as dispai·aging my faith and saying that I was uninfo1med about the vaccine. I never had any
           knowledge that there was fetal tissue in the vaccines. My concern was that the vaccine had been
           developed with stem cells derived from aboiied fetuses, and that is why I religiously object to the
           vaccme.

                   18.     I have worked for United for 18 yeai·s and wish to continue doing so, especially for
           the sake of my husband. Since the beginning of the COVID-19 pandemic, I have followed the
           mitigation measures that United has put in place for my position. United has not offered to allow
           me to continue working with these measures in place. Instead, after info1ming United of my
           religious beliefs, I have been threatened with tennination or indefinite unpaid leave. I will never
           get the vaccine because I believe it is teITibly wrong, so I need to find a way to keep working.

                  19.     I submitted a chai·ge with the EEOC on September 20, 2021 , regarding United's
           discriminato1y actions. That charge remains pending.

                    I declare under penalty of pe1jmy that the foregoing is hue and correct.




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 Document signed by:

                  Kimberly Hamilton



                                          21 Sep 2021 22:00:35 UTC



                       Document completed by all parties on:
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                    EXHIBIT 3




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  DAVID SAMBRANO, individually and on
  behalf of all others similarly situated, et al.,

                          Plaintiffs,

                  v.                                 Civil Action No.: 21- ____

  UNITED AIRLINES, INC.,

                          Defendant.




                                Affidavit of Seth Adam Turnbough

       I, Seth Adam Turnbough, declare as follows:

       1.      I am 41 years old and I am a resident of Schaumburg, Illinois.

        2.     I am a 737 Captain with United Airlines and based in Chicago, IL. In that position,
my responsibilities include commanding the airplane and flying it. I have been in this position
since 2014, and have worked for United Airlines for 16 years in total. I regularly fly into the Dallas
Fort Worth International Airport for United on business and travel there on my ride share passes
from the company to visit my family in the Dallas area.

       3.     On August 6, 2021, I learned that United Airlines would require all employees to
receive a COVID-19 vaccine by either October 25, 2021, or five weeks after any of the currently
available COVID-19 vaccines received approval beyond their initial Emergency Use
Authorization. After the authorization of the Pfizer vaccine on August 25, 2021, the vaccination
deadline became September 27, 2021. According to the mandate, all employees who are not
vaccinated by September 27, 2021, will be terminated from employment.

        4.      Since the beginning of the COVID-19 pandemic, I have been working my regular
shift without incident. I went on reserve status when flights were basically shut down in 2020.
After returning from reserve status, I have been able to perform the essential functions of my job
as a pilot, abiding by United’s guidelines that employees wear masks at all times on airport
property, and in the airplane unless the cockpit door is closed. I have abided by that restriction
and all other COVID-19 restrictions.

        5.      On the very same date I learned of the mandate, August 6, 2021, I submitted a
request for a reasonable accommodation based on my medical condition. I submitted that request
through the web-based portal United provided for such requests.




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         6.      I require a reasonable accommodation to United’s new COVID-19 vaccine mandate
based on a medical condition. Specifically, I was diagnosed with multiple sclerosis (MS) in 2008.
Because it is relapsing/remitting MS, I am still able to have the career that I love, so long as the
Federal Aviation Administration issues me a special allowance after confirming that I am fully
able to perform all of the responsibilities and essential job functions of a Captain. I have seen my
neurologist twice to discuss COVID-19, first in February 2021 and then again in of 2021. Initially,
my doctor thought it might be a good idea for me to get the vaccine in order to stay protected.
Following additional research and consideration, however, he now recommends that I do not
receive the COVID-19 vaccine. My neurologist is primarily concerned that in light of my MS, the
immune reaction genated by the vaccine might precipitate a “cytokine storm”—a condition
wherein an individual’s immune system is over-stimulated and begins attacking healthy tissue and
organs. This condition is known to be extremely dangerous and even lethal. My doctor is also
concerned that the vaccine might lead to blood-clotting. This concern is magnified since pilots are
already at higher risk of thrombosis. Until there is additional research on people with MS taking
it, or other research that speaks to someone in my special circumstances, my doctor recommends
that I not recvieve the COVID-19 vaccine due to my disability. As a result, he provided me with
a statement expressing his concerns, which I included in my request for a reasonable
accommodation.

        7.     I have always taken all recommended vaccines prior to the COVID-19 vaccine, and
I would have no objection to taking the COVID-19 vaccine if its safety can be established for
people with MS to the same degree that other vaccines have, such that my neurologist is satisfied
that he can recommend it to me. I cannot (nor should I) take a vaccine against the advice of my
doctor.

        8.      I have taken and retained 8 pages of written notes on all of my conversations,
correspondence, and developments since I made my request. I have tried to be very diligent on
this matter because of its central importance to my career. These notes include conversations with
management, colleagues, medical staff, and other relevant persons. None of this was the
interactive process I hoped for. Instead they were my ongoing efforts to find someone who could
help me, efforts that have proven unsuccessful. These notes also show how often a representation
from one person who should know what was going on was inconsistent with what another person
said, and how confusing and disorderly this process has been. These notes show that: (1) United
had not been carefully planning through how this would work, as HR staff and Chief Pilots alike
had contradictory assumptions about what the final terms would be, such as one telling me that I
could continue to fly on a restricted basis; (2) that they had no process in place to ensure pilots
with medical conditions that the FAA still permits them to fly with could continue flying; and (3)
as recently as September 13, 2021, they had not even decided that I would be allowed to use my
accrued sick days before my leave status converted to unpaid leave.

         9.     On September 10, 2021, I was informed that my request for a medical
accommodation was “GRANTED”, but that I would be “accommodated” by being placed on an
indefinite period of unpaid leave. I was further informed that this period of unpaid leave could
last for a maximum of 72 months.




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       10.     While on indefinite unpaid leave, I will be unable to accrue any sick leave or
vacation time. Additionally, I will be required to pay my medical insurance premiums while on
unpaid leave (both my portion and United’s potion).

        11.    United did not engage in the interactive process with me in order to arrive at its
proposed “accommodation”, which is actually just a penalty for seeking an accommodation rather
than following the vaccine mandate. United’s so-called accommodation was a take-it-or-leave-it
offer that asked for either acceptance of the unpaid leave or a withdrawl of my request for an
accommodation. The offer further stated that if I did not respond within 5 calendar days, United
would take that to mean I had accepted their “accommodation.”

       12.     Contrary to United’s previous statement, my Chief Pilot informed me on September
14, 2021, that I would be permitted to use my accumulated sick leave in order to receive some
compensation while on leave. Once those funds were exhausted, however, I would no longer
receive any income from United. As I received contrary guidance from United, I am concerned
that my Chief Pilot’s explanation may not be accurate or honored.

        13.    My total compensation varies based on flying hours, but my current salary is
approximately $300,000.00. I do not know my medical insurance premiums but believe they are
substantial, and that United pays a significant amount per month toward my health insurance
premiums. Once on administrative leave, I will no longer receive any income and I will be required
to pay for my serious medical needs alone.

         14.    In addition to the monetary toll that United’s actions will take on me, the company’s
failure to engage in the interactive process in order to reach a reasonable accommodation has been
psychologically damaging. The enormous stress has led to overeating and I have gained almost
10 pounds over the last month.

        15.    Most importantly, the psychological stress caused by United’s actions leaves me
facing the serious harm of my MS returning. As noted previously, my disease is classified as
relapsing/remitting. Though I have been able to keep that disability under control—as evidenced
by my Class A medical certification for flying—extreme stress can lead to a resurgence of my MS,
rendering me unable to fly for the rest of my life.

        16.     Being a airline pilot is a very highly skilled profession that takes years of training
and experience. It is my passion and I do not want to change careers. Moreover, having spent so
many years developing my piloting credentials, I have not spent any time developing a marketable
alternative career skill. And age 41 would be a difficult time at which to start all over with a career.
And even if I could find employment with another airline, I would lose all of my seniority.

        17.     As noted, I have worked for United for 16 years and wish to continue doing so.
Since the beginning of the COVID-19 pandemic, I have followed the mitigation measures put in
place by United for my position. Now, however, United has not offered to allow me to continue
working with these same measures (or others) in place. Instead, after United was made aware of
my medical condition, I have been threatened with either termination or the penalty of indefinite
unpaid leave if I do not go against my doctor’s advice regarding my carefully managed personal
health situation.



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             18.     I submitted a charge with the EEOC on September 20, 2021, regarding United’s
      discriminatory actions. That charge remains pending.

                  I declare under penalty of perjury that the foregoing is true and correct.


                                                                 Seth Turnbough
      Date                                                      Name

Signature:   ~ .ft.2.---
                   ,______
             Seth Turnoough (Sep 21, 2021 06:24 PDT)




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                    EXHIBIT 4




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              DAVID SAMBRANO, individually and on
              behalf of all others similarly situated, et al.,

                                        Plaintiffs,

                                 V.                              Civil Action No.: 21-

              UNITED AIRLINES, INC.,

                                        Defendant.




                                              Affidavit of David Michael Castillo

                     I, David Michael Castillo, declare as follows:

                     1.       I am 54 years old and I am a resident of Grapevine, Texas.

                     2.     I am an Aircraft Technician for United Airlines at Dallas Fo1i Wo1i h International
            Aiipo1i. In that position, my responsibilities include being a mechanic for the planes. I have been
            in this position for 22 years, and would like to continue.

                   3.      On or around August 6, 2021 , I learned from my foreman that United Aii·lines
            would requii·e all employees to receive the COVID-19 vaccine. It was unclear at that time how
            long we had to receive the vaccine, but the company info1med eve1yone that they would be
            tenninated if they did not receive the COVID-19 vaccine. I now know that United requii·es
            vaccination by September 27, 2021.

                    4.      Before that date, I had been working my regular shift without incident during the
            COVID-19 pandemic. As required by United's rules, I have worn masks and tried to keep my
            distance from others. Neve1iheless, I was diagnosed with COVID-1 9 in or around October 2020.
            I had flu-like symptoms for about a week along with the loss of taste and smell.

                   5.     On September 17, 2021 , I submitted a request for a reasonable accommodation
            based on my religious beliefs and my natural iinmunity. I submitted that request by sending an
            email to my supervisor and then following up with an email to United's HR department on
            September 18, 2021.

                  6.      I was unable to submit my reasonable accommodation request through United' s
            web-based request system-United had said it would not allow any requests after August 31, 2021.

                   7.       A United Human Resources person info1med me after my email was sent that my
            request for religious accommodation is untimely, but that my medical request can be considered.




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                    8.      I am not sure what my supervisor's statement about the medical request means
            exactly, but ifl am given the same accommodation that other people are getting it will be tenible
            for me. The general info1mation I am getting is that the only accommodation United offers is an
            indefinite period of unpaid leave. While on indefinite unpaid leave, I would be unable to use any
            of my accrned sick leave or vacation time. Additionally, I will be unable to accrne any sick leave
            or vacation time while on indefinite unpaid leave. Finally, I will be required to pay my medical
            insurance premiums while on unpaid leave (both my portion and United' s potion).

                   9.       I require a religious accommodation based on my sincerely-held religious beliefs.
            Specifically, it is my understanding that this vaccine was developed with cells that came from
            abo1ied fetuses. Because I believe that it is wrong to do anything related to, or to make any money
            from, things that come from abo1i ion, I am not willing to comproinise my beliefs by taking a
            vaccine that relied on the evil of abo1i ion for its development.

                    10.     While I did receive vaccines as a child, I did not understand what I understand now,
            nor did I have a choice in the matter. In fact, after becoming an adult, the only vaccine I recall
            having is a flu shot about 30 years ago. I do not believe I have had any vaccines since then and
            will not take any in the future.

                    11 .   I also require a medical exemption from United' s vaccine requirement. Having
            ah eady had COVID-19, I do not believe I am cunently at risk of getting COVID-1 9 or giving it to
            others and I believe that receiving the vaccine while aheady possessing antibodies may cause a
            medical reaction.

                    12.     My annual sala1y is approximately $100,000.00. If forced to go on unpaid leave, I
            will have lost my job for all practical pmposes and no longer receive any income. United has also
            threatened to make me pay for all of my health insurance if I do not violate my conscience and
            receive the COVID-1 9 vaccine. I do not know how much my insurance is, but I know United pays
            for a good po1i ion of it and I will be unable to continue having insurance.

                   13.   I cmrently have little to no savings. I depend on my regular paycheck to meet my
           financial needs. If United's current policy of either termination or unpaid leave as an
           "accommodation" continues, I will be homeless within days. My apa1iment lease is up for renewal
           in October 2021, and I cannot renew without a source of income. That means I will soon be
           sleeping in my tiuck, which I will lose not long after since I will be unable to make my tiuck
           payment, either.

                   14.    In addition to becoming homeless, the lack of health coverage would create a real
           physical danger for me. Because I am diabetic and have high blood pressme, I require health care
           that I may soon be unable to afford.

                   15.      As noted, I have worked for United for 22 years and wish to continue doing so.
           Since the beginning of the COVID-1 9 pandemic, I have followed the initigation measures put in
           place by United for my position. United has not offered to allow me to continue peifonning my
           essential job functions with any of these measmes in place. Instead, after info1ming United of my
           religious beliefs, I have been threatened with te1mination or indefinite unpaid leave.




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                   16.     I submitted a charge with the EEOC on September 20, 2021 , regarding United's
            discriminato1y actions. That charge remains pending.

                     I declare under penalty of pe1jmy that the foregoing is tme and correct.



             09 I 21 / 2021
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                Document Ref.: TNJBQ-CR2H9-Q4DE2-TTIAB

 Document signed by:

                  David Castillo



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                           21 Sep 2021 17:48:50 UTC
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                     EXHIBIT 5




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              DAVID SAMBRANO, individually and on
              behalf of all others similarly situated, et al.,

                                        Plaintiffs,

                                 V.                              Civil Action No.: 21-

              UNITED AIRLINES, INC.,

                                        Defendant.




                                           Affidavit of Debra Jennefer Thal Jonas

                     I, Debra Jennefer Thal Jonas, declare as follows:

                     1.       I am 61 years old and I am a resident of Bedford, Texas.

                  2.     I am a United Club Representative at DFW. In that position, my responsibilities
           include working in the lounge, verifying credentials, offering to sell memberships, telling
           customers about amenities, and helping with flight issues and upgrades. I was in that position
           from 2012 to 2016, then had to switch to other positions, and had just returned to this position on
           September 1, 2021. I have been with United and its predecessor Continental since 1984.

                   3.    On August 6, 2021, I learned that United Airlines would require all employees to
           receive the COVID-19 vaccine. We must receive the vaccine by September 27, 2021. According
           to the mandate, all employees not vaccinated by the effective date would be tenninated from
           employment.

                  4.      Before then, I had been working my regular shift without incident and I have
           followed all of the mitigation measures United put in place: mask weaiing when at the aiiport,
           maintaining a distance from customers and other employees, etc.

                   5.     On August 29, 2021 , I submitted a request for a reasonable accommodation seeking
           a medical accommodation. I submitted that request through the web-based portal United provided
           for such requests. In my request, I also raised concerns about whether the vaccine is safe for me,
           but the United portal did not pennit me to explain all of my concerns and it did not allow me to
           request both a medical and a religious accommodation.

                   6.      I requii·e a medical accommodation from the vaccine mandate because I have severe
           reactions to vai·ious allergens, including eggs and penicillin. I had an Emergency Room episode
           due to an allergy, and they never did identify the exact cause. I have a family histo1y of severe




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           allergies. My mother almost died in the hospital from an allergic reaction to common a medical
           substance. This risk of severe allergic reactions is another reason I do not receive vaccines.

                   7.      Moreover, I recently contracted and recovered from COVID in August 2021. I am
           thus likely to possess the same antibodies that the vaccine is supposed to create. I believe that it
           is unsafe to take a vaccine to create those antibodies when I ah-eady possess them.

                   8.      I am also personally opposed to receiving the COVID-19 vaccine based on my
           religious beliefs. Specifically, my religious belief is not to put anything toxic or foreign into my
           body. I do not believe that I have ever received a vaccine. I take no chugs and even almost no
           alcohol. I am opposed to vaccines because of that religious belief.

                   9.     On September 14, 2021, I updated my accommodation request with a fo1m filled
           out by my doctor, noting my histo1y of allergic reactions-including anaphylaxis--and stating that
           I could not take the vaccine.

                  10.     The next day, on September 15, 2021 , I was told my medical request was
           "approved," but I was told I would be placed on indefinite medical leave. Although I can use my
           own earned sick pay until it rnns out, United would not extend any pay or benefits beyond that
           point. I would then be required to pay my medical insurance premiums (both my po1iion and
           United's potion).

                 11.     My cmTent salaiy is ai·om1d $70,990. My family has no other source of income.
           My husband is disabled, and my adult son lives with us and I suppo1i him.

                  12.     I recently took out a withch·awal from my 401k to pay off our house because I fear
           we could lose it if I am placed on medical leave. I had to pay a $21,500 penalty to do so.
           Additionally, an extended period oftime without income will lower my Social Security payments
           when I qualify for benefits. By being placed on medical leave, the value of my CARP pension,
           which is the pension I earned years ago with Continental before it merged with United, will stop
           growing. I had planned on working till at least until age 67, possibly 70.

                   13.     My family depends on my regular paycheck to suppo1i our daily expenses. Without
           that steady income, we cannot pay our bills of regulai· living expenses, like groceries,
           transpo1iation, medicines. We do not have savings to cover these expenses and will need to make
           significant changes in our lives because of the lost income stream.

                   14.    I am physically suffering from this. I am honibly stressed. My blood pressure is
           now 185/92. My eye keeps twitching. I'm experiencing loss of sleep and focus. I've become
           initable and nervous.

                   15.     As noted, I have worked for United for 37 years and wish to continue doing so.
           Since the beginning of the COVID-19 pandemic, I have followed the mitigation measures that
           United has put in place for my position. United has not offered to allow me to continue working
           with these measures in place. Instead, after info1ming United of my medical issues, I have been
           threatened with the choice of te1mination or indefinite medical leave. Either one will lead to the
           loss of a paycheck and medical benefits.



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                  16.     I submitted a charge with the EEOC on September 20, 2021 , regarding United's
           discriminato1y actions. That charge remains pending.

                     I declare under penalty of pe1jmy that the foregoing is tme and correct.


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                   Signature Certificate
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 Document signed by:

                  Debra Jonas



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                     EXHIBIT 6




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              DAVID SAMBRANO, individually and on
              behalf of all others similarly situated, et al.,

                                        Plaintiffs,

                                 V.                              Civil Action No.: 21-

              UNITED AIRLINES, INC.,

                                        Defendant.




                                             Affidavit of Genise Gale Kincannon

                    I, Genise Gale Kincannon, declare as follows:

                     1.       I am 53 years old and am a resident of Ft. Worth, Texas.

                  2.      I am a Flight Attendant for United Airlines. In that position, my responsibilities
           include helping customers find and take their seats, serve drinks and food, and explain safety
           protocols for the aircraft. If there is an emergency, it is my job to help get people off the plane,
           extinguish any fires, and take other action as necessruy. The bulk of my annual training focuses
           on customer safety. I have worked at United Airlines for 31 yeru·s.

                   3.     I regularly work through the DFW airpo1i, working on planes depa1iing from and
           an-iving into DFW, and using the employees facilities at DFW.

                  4.     On August 6, I leruned that United Airlines would require all employees to receive
           the COVID-19 vaccine by either October 25, 2021 , or five weeks after any of the cmTently
           available COVID-1 9 vaccines received approval beyond their initial Emergency Use
           Authorization. After the authorization of the Pfizer vaccine on August 25, 2021, the date for
           vaccination required by United became September 27, 2021. According to the mandate, all
           employees not vaccinated by the effective date would be tenninated from employment.

                   5.     Before that date, I had been working my regulru· shift without incident, except for
           the period from April 5, 2021 , to August 2, 2021, when I was not working because of a shoulder
           injmy . While at work, though, I have followed the United safety rnles: weru·ing a mask when on
           the job, performing all of our sanitizing steps, and following all other COVID-19 protection
           measures.

                  6.       On August 18, I submitted a request for a reasonable accommodation from the
           vaccine requirement. I require an accommodation because of my sincerely held religious beliefs.
           Specifically, this vaccine was developed by testing on fetal cells. As a Christian, I believe abo1iion




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           is wrong. I am okay with stem cells being used if they are derived from adults where no life was
           taken, but not emb1yonic stem cells. Because the fetal cells used to make the vaccines came from
           the death of an innocent person, it would be wrong to put that the vaccine into my body. In my
           request, I even quoted the pa1ts of the Bible that suppo1t my belief as to why I am religiously and
           morally opposed to abo1tion in eve1y f01m. I sub1nitted that request through the web-based po1tal
           United provided for such requests.

                 7.      I hoped to receive a response from United offering to discuss possible
           accommodations. But I did not receive any individual attention to my request. The company sent
           me some boilerplate questions challenging my religious beliefs and only asked for a letter from
           someone else to verify my those beliefs.

                  8.      I have taken no vaccines recently. Although I had some when I was younger, I do
           not know whether there were immoral aspects to the development of those vaccines, but I would
           decline all vaccines going f01ward if I become aware that any fetal tissues were used in their
           development.

                    9.     On September 9, 2021, I was info1med that my request for a religious
           accommodation was "GRANTED", but that the "accommodation" United would provide is an
           indefinite period of unpaid leave. I was further infonned that this period of unpaid leave could
           last for a maximum of 72 months. While on indefinite unpaid leave, I would be unable to use any
           of my accrned sick leave or vacation time. Additionally, I would be unable to accrue any sick
           leave or vacation time while on indefinite unpaid leave. Finally, I would be required to pay my
           entire medical insurance preiniums while on unpaid leave.

                   10.    United did not engage in the interactive process with me in order to aiTive at its so-
           called accommodation-an accommodation that is really just a penalty for seeking to live by my
           religious beliefs while also perfo1ming the essential functions of my job. United's so-called
           accommodation was a take-it-or-leave-it offer that asked for either acceptance of the unpaid leave
           or a withdraw! of my request for an accommodation. The offer fuit her stated that if I did not
           respond within 5 calendai· days, United would take th at to mean I had accepted their
           "accommodation."

                   11.     My cunent compensation is around $54,000 per year. My husband makes around
           $85,000 per yeai·. The loss of more than 35% of our household income would be devastating and
           would cause immediate consequences in our lives- affecting transpo1tation, housing, and other
           daily financial decisions.

                     12.     But there have been additional haims from United' s actions. The issued is cunently
           straining my maniage. My husband received the COVID-19 vaccine, and does not want my
           refusing to receive the vaccine to change the things we are hying to do as a fainily. I am also
           worried about how I can afford my daughter's college tuition ifl lose my income. I feel so much
           sti·ess; I am c1y ing all the time and can bai·ely eat. I also feai· losing good friends at work, especially
           since some of them talk about how absurd it would be for someone not to get the vaccine. No
           matter the cost, though, I will never take this vaccine.




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                  13.     Additionally, I have ah-eady had COVID-1 9. I was diagnosed with the illness on
           Febrnaiy 6, 2021. I had mild symptoms like sore throat, and lost my sense of taste and smell for
           2 months. On September 15, 2021 , I tested positive for COVID-19 antibodies, and I have been
           told that those antibodies mean I am cmTently immune from the disease. It is inherently
           unreasonable to prevent someone with COVID-1 9 antibodies from working unless they get a
           vaccine designed to produce COVID-1 9 antibodies.

                   14.    As noted, I have worked for United for 31 years and wish to continue doing so.
           Since the beginning of the COVID-1 9 pandemic, I have followed the mitigation measures that
           United has put in place for my position. United has not offered to allow me to continue working
           with these measures in place. Instead, after infonning United of my religious beliefs, I have been
           threatened with tennination or indefinite unpaid leave.

                  15.     I submitted a chai·ge with the EEOC on September 20, 2021 , regarding United's
           discriminato1y actions. That chai·ge remains pending.

                    I declare under penalty of pe1jmy that the foregoing is trne and correct.



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                   Signature Certificate
               Document Ref.: FYNPJ-GXGJB-YNR2D-BQJ95

 Document signed by:

                  Genise Kincannon
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                     EXHIBIT 7




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               DAVID SAMBRANO, individually and on
               behalf of all others similarly situated, et al.,

                                        Plaintiffs,

                                   V.                             Civil Action No.: 21-

               UNITED AIRLINES, INC.,

                                        Defendant.


                                              Affidavit of David Lien Lockwood

                      I, David Llen Lockwood, resident of Saginaw, Texas, declare as follows:

                     1.     I am Station Operations Representative (SOR) at DFW airpo1i. In that position, my
            responsibilities include working in operations, which is an office where we do gate planning, and
            coordinate fueling, mechanics, cleaners, caterers, and other matters for staffing and releasing
            aircraft.

                  2.     On August 6, I learned that United Airlines would require all employees to receive
            the COVID-1 9 vaccine.

                    3.      I am personally opposed to receiving the COVID-1 9 vaccine based on my religious
            beliefs. I am a ve1y religious individual, and I filed a religious accommodation process (RAP) for
            a religious exemption soon after finding out about the mandate .

                    4.      After not hearing anything from United for several weeks regarding my RAP, while
            being pressured to get the vaccine, I became ve1y wonied about getting the vaccine regime done
            in time if I wanted to keep my job. At that time, it seemed to me like there was nothing that could
            be done to stop United from enforcing its mandate against me and I could not afford to lose my
            job. My desire to live by my religious beliefs in this case felt like I was casting my pearls before
            swme.

                    5.      Coming back from visiting family in Tulsa on September 2, 2021, I stopped at
            multiple locations to see if there were any Johnson & Johnson vaccines available. Because that
            brand is a single-dose vaccine, I could wait longer before making a fmal detennination about
            getting the shot. I was unable to fmd a location that provided that paiiicular vaccine.

                    6.    On that same day, Wal-Mart in Saginaw had the Pfizer vaccine, and so I gave in to
            the pressure United was exe1iing and took the first dose of that vaccine.

                   7.      Since taking the first dose of the Pfizer vaccine, I have experienced pain ai·ound my
            lungs and I am ve1y wonied about taking the second dose.




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                   8.       I regret taking the COVID-1 9 vaccine and wish that United would not have pushed
            its mandate on me and my fellow employees. An airline company should not be making medical
            decisions for its employees (or holding their employees at gunpoint over those decisions).

                    9.      I also wish that United had engaged with me over my accommodation in good faith
            rather than strnng-anning people like myself to violate their faith.

                      I declare under penalty of pe1jmy that the foregoing is tme and correct.


             09 I 21 / 2021                                         David lbtk.UJ()(Td
            Date                                                   Name




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Document Ref: VSYTQ-IJEG9-WIYJ4-615Q4                                                                          Page 2 of 2
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                   Signature Certificate
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 Document signed by:

                  David Lockwood



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